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17                               UNITED STATES DISTRICT COURT
18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                       OAKLAND DIVISION
20    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )          Case No. 4:19-cv-07123-PJH
21                                      )
                                        )
22                    Plaintiffs,       )          ADMINISTRATIVE MOTION TO
                                        )          CONSIDER WHETHER ANOTHER
23           v.                         )          PARTY’S MATERIAL SHOULD BE
                                        )          FILED UNDER SEAL
24    NSO GROUP TECHNOLOGIES LIMITED )
25    and Q CYBER TECHNOLOGIES LIMITED, )          Ctrm: 3
                                        )          Judge: Hon. Phyllis J. Hamilton
                                        )
26                    Defendants.       )
                                        )
27                                      )          Action Filed: October 29, 2019

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       Case 4:19-cv-07123-PJH            Document 405        Filed 10/02/24      Page 2 of 3




 1             TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2             PLEASE TAKE NOTICE that, pursuant to Northern District of California Local Rules 7-11

 3   and 79-5(f), Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plaintiffs”) move the Court to

 4   consider whether Plaintiffs’ Motion for Sanctions, the Declaration of Micah G. Block in Support of

 5   Plaintiffs’ Motion for Sanctions (the “Block Declaration”), and certain exhibits thereto should be

 6   sealed.

 7             Plaintiffs’ Motion for Sanctions and the Block Declaration and certain exhibits thereto con-

 8   tain references to documents that Defendants NSO Group Technologies Limited and Q Cyber Tech-

 9   nologies Limited have designated for confidentiality pursuant to the Stipulated Protective Order (Dkt.

10   No. 132) in the above-captioned action and/or sought leave to file under seal. Accordingly, Plaintiffs

11   now move the Court to consider whether such references in Plaintiffs’ Motion for Sanctions and the

12   Block Declaration and certain exhibits thereto should be sealed. See N.D. Cal. Civil L.R. 79-5(f).

13   Plaintiffs reserve the right to challenge any confidentiality designations as well as the sealability of

14   the materials at issue.

15             This motion and copies of any relevant attachments will be served on all non-parties by email,

16   since they have not appeared in this action.

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     ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL
     CASE NO. 4:19-CV-07123-PJH
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 1    Dated: October 2, 2024                     Respectfully Submitted,

 2
                                                 DAVIS POLK & WARDWELL LLP
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 4                                               By: /s/ Micah G. Block
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19                                                       Attorneys for Plaintiffs WhatsApp LLC and
                                                         Meta Platforms, Inc.
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     CASE NO. 4:19-CV-07123-PJH
